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STATE OF MINNESOTA                                                    DISTRICT COURT
                            15 FEB I 0 PM I: I 8
COUNTY OF HENNEPIN               CIT Y CLERK              FOURTH JUDICIAL DISTRICT
                                DEPARTHENT                   Case Type: Personal injury


James Davies,                                          Court File No: _ _ _ __ __
                             Plaintiff,

vs.                                                    SUMMONS

Jamie Conway, as in his individual
capacity as a Minneapolis Police Officer;
and City of Minneapolis,
                              Defendants.


THIS SUMMONS IS DIRECTED TO: Jamie Conway, a Minneapolis Police Officer, and
the City of Minneapolis:

1.     YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The
       Plaintiff's Complaint against you is attached to this summons. Do not throw
       these papers away. They are official papers that affect your rights. You must
       respond to this lawsuit even though it may not yet be filed with the Court and
       there may be no court file number on this summons.

2.     YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR RIGHTS. You
       must give or mail to the person who signed this summons a written response
       called an Answer within 20 days of the date on which you received this
       Summons. You must send a copy of your Answer to the person who signed this
       summons located at: 310 Fourth Avenue South, Suite 7100, Minneapolis, MN
       55415.

3.     YOU MUST RESPOND TO EACH CLAIM. The Answer is your written
       response to the Plaintiff's Complaint. In your Answer you must state whether
       you agree or disagree with each paragraph of the Complaint. If you believe the
       Plaintiff should not be given everything asked for in the Complaint, you must
       say so in your Answer.

4.     YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITIEN
       RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS
       SUMMONS. If you do not Answer within 20 days, you will lose this case. You
       will not get to tell your side of the story, and the Court may decide against you
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      and award the Plaintiff everything asked for in the complaint. If you do not
      want to contest the claims stated in the complaint, you do not need to respond.
      A default judgment can then be entered against you for the relief requested in
      the complaint.

5.    LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do
      not have a lawyer, the Court Administrator may have information about places
      where you can get legal assistance. Even if you cannot get legal help, you must
      still provide a written Answer to protect your rights or you may lose the case.

6.    ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be
      ordered to participate in an alternative dispute resolution process under Rule 114
      of the Minnesota General Rules of Practice. You must still send your written
      response to the Complaint even if you expect to use alternative means of
      resolving this dispute.



Dated:_ 2_.--·--=
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                                               Dki J. Bre~nahan (#11290)
                                                                        --..._,

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                                               Attorney for Plaintiff
                                               310 Fourth Avenue South
                                               Suite 7100
                                               Minneapolis, MN 55415
                                               (612) 338-0070
                                               (612) 355-4419 (fax)




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 STATE OF MINNESOTA                15 FEB I 0 PM I: I 7                              DISTRICT COURT

 COUNTY OF HENNEPIN                      CITY CLERK                       FOURTH JUDICIAL DISTRICT
                                        DEPARTHENT                           Case Type: Personal injury



 James Davies,                                                         Court File No: _ _ _ _ _ __
                                Plaintiff,

 vs.                                                                   COMPLAINT

 Jamie Conway, as in his individual
 capacity, and as a Minneapolis Police Officer;
 and City of Minneapolis,
                               Defendants.


         For his Complaint, Plaintiff above-named, James Davies (''Davies") state and alleges as
 follows :
                                                 PARTIES

 l.      This is an action for money damages arising out of the injuries sustained by Davies as a
 result of the use of excessive force, unreasonable arrest and detention, and violation of his civil
 rights and statutes of the State of Minnesota by the above-named Defendants.
 2.      Davies brings this action pursuant to 42 U.S.C. §§ 1983 and 1988, the Fourth and
 Fourteenth Amendments to the United States Constitution, as well as Minnesota statutes and
 common law.

 3.      At all times material herein, Davies was a resident of the City of Minneapolis, County of
Hennepin, State of Minnesota.

4.       At all times material herein, Defendant Jamie Conway, ("Conway") was acting under
color of state law and employed as a police officer acting within th e scope of his employment by
the City of Minneapolis. Conway is being sued in his individual capacity.

5.      At all times herein the City of Minneapolis ("City") is a municipality duly incorporated
under the laws of the State of Minnesota, and employed Conway at the time he illegally
assaulted, battered, arrested and detained Davies.
6.
        For approximately the past twenty years, Davies has been self-employed in the building
trade and repair trade.
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                                             BACKGROUND
    7.      On February 28, 2013 , at approximately 10:30 a.m., Davies was in his residence in
    Minneapolis, Minnesota.
    8.      Conway and Officer Isaac Raichert, came to Davies' residence and upon given entry
    ordered Davies to vacate his residence immediately because Conway stated there was an Order
    for Protection ("OFP") issued that required Davies to immediately leave his home.
    9.      Davies had no idea what an OFP was and he had not been served with an OFP.
    10.      When Davies questioned Conway about the OFP, Conway struck Davies in the face, with
    his right fist.
    11.     Davies did not resist or provoke Conway.
    12.      Conway assaulted, battered and injured Davies causing pain, facial lacerations and cost
    of medical care.
    13.      Davies was arrested by Conway and booked into Hennepin County Jail on February 28,
    2013.
    14.      Davies was not served with the OFP prior to the assault and arrest and detention .
    15.      Davies was purportedly served with the OFP while he was incarcerated in jail after his
    arrest for violating the OFP.
    16.      The OFP served upon Davies in jail on February 28, 2013 had an expired date of
    enforcement and an address of Davies that was inaccurate.
    17.      The order was not enforceable because it was outdated and ordered Davies out of his
    neighbor' s home, not his home.
    18.      Conway's use of force and subsequent arrest and detention of Davies was unreasonable
    and not based upon law.
    19.      Conway, while acting under color of the State Law, violated Davies' clearly established
    and well-settled civil rights to be free from excessive force and unreasonable seizure and
    unlawful detention.
    20.      Conway subjected Davies to this deprivation of his rights either maliciously or by acting
    with reckless disregard for whether his rights would be violated by Conway's actions.
    21.     Upon information and belief, the City has not reprimanded Conway after being informed


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of the factual allegations surrounding this incident of February 28, 2013, and further has
condoned Conway's illegal actions.
                                      CAUSES OF ACTION
                                              COUNT I
VIOLATION OF THE FOURTH AMENDMENT, FOURTEENTH AMENDMENT AND
                    42 U.S.C. § 1983 BY CONWAY


       22.     Davies restates and alleges all and singular paragraphs I through 21 of his
Complaint.
       23.     By the actions described above, Conway, acting under the color of state law,
violated and deprived Davies of his clearly established and well-settled civil rights by acting in
concert to use excessive force in violation of the Fourth Amendment, Fourteenth Amendment,
and 42 U.S.C. § 1983. Qualified immunity is inapplicable because no reasonable officer, in the
position of Conway, would have engaged in similar conduct in arresting Davies.
        24.     Davies is entitled to compensatory damages for the actual injuries and physical
harm he suffered, including his pain and discomfort, as well as his medical expenses, as a result
of the Individual Defendants' violation ofhis constitutional and statutory rights.
        25.     Davies is also entitled to recovery of hi fees, costs, and disbursements, including
reasonable attorney's fees, pursuant to 42 U.S.C. § 1988 and other applicable law.
                                             COUNT II
 VIOLATION OF THE FOURTH AMENDMENT, FOURTEENTH AMENDMENT AND
              42 U.S.C. § 1983 BY THE CITY OF MINNEAPOLIS

        26.     Davies restates and realleges all and singular paragraphs I through 25 of his
Complaint.
        27.     Defendant City of Minneapolis has had, at all material times herein, customs,
policies, practices, and/or procedures of inadequately training and instructing its police officers,
including Conway, regarding the proper use of force.
       28.     Before February 28, 2013 , the City with deliberate indifference to the rights of
citizens, failed to properly train its officers or failed to require adherence to appropriate policies
to avoid the improper use of force on citizens posing no immediate threat to anyone.

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       29.     Upon information and belief, the City ratified and approved Conway' s
misconduct, and failed to discipline Conway; instead returning him to his normal law
enforcement activities.
       30.     Consequently, there has been an approval of a deficient policy, custom or practice
and inadequate training in the proper use of force.
       31.     Davies' injuries and violation of his rights were directly and proximately caused
by the aforementioned acts and omissions and by the City' s failure to train, and the City is
thereby liable for compensatory damages in an amount as yet to be determined.
       32.     Davies is entitled to recovery of costs, including reasonable attorney's fees , under
42 U.S .C. § 1988.
       33 .    Davies is entitled to compensatory damages for the actual injuries and physical
harm he suffered, including his pain and discomfort, as well as his medical expenses, as a result
ofthe City of Minneapolis ' violation of his constitutional and statutory rights.
       34.     Davies is also entitled to recovery of his fees , costs, and disbursements, including
reasonable attorney's fees , pursuant to 42 U .S.C. § 1988 and other applicable law.
                                            COUNT III
                          COMMON LAW ASSAULT BY CONWAY
       35 .    Davies restates and rea lieges all and singular paragraphs 1 through 34 of his
Complaint.
       36.     Through the conduct described herein , Conway unlawfully threatened to do bodily
harm to Davies. At the time that the Conway made and displayed these threats, he possessed the
present ability to carry them out, which he, in fact, did through his use of unreasonable and
excessive force against Davies.

       37.     Conway threatened and used unreasonable and excessive force against Davies
willfully, maliciously, and with the intent to cause bodily harm and/or the reasonable
apprehension of immediately bodily harm.

       38.     No only did Conway' s conduct in threatening and using unreasonable and
excessive force cause Davies to reasonably apprehend immediately bodily harm, but it caused
Davies to suffer bodily harm.


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       39.     At all material times herein, Conway was acting in the course and scope of his
duties as on-duly police officer duly employed by the City.
       40.     As a result of the foregoing, Conway is directly liable for common law assault,
and the City is vicariously liable for common law assault.
       41.     Davies is also entitled to recovery of his fees , costs, and disbursements, including
reasonable attorney's fees, pursuant to 42 U.S.C. § 1988 and other applicable law .
                                            COUNT IV
                      (COMMON LAW BATTERY BY DEFENDANTS)
       42.     Davies restates and rea lieges all and singular paragraphs I through 41 of his
Complaint.
       43 .    Conway's conduct described herein constituted the use of unreasonable and
excessive force that would offend a reasonable person.
       44.     Conway's used unreasonable and excessive force against Davies willfully,
maliciously, and with the intent to cause bodily harm.
       45.     Not only did Davies find Conway' s use of unreasonable and excessive force
against him offensive in nature, he suffered bodily harm as a direct result of his application.
       46.     At all material times herein, Conway was acting in the course and scope of his
duties as an on-duty police officer duly employed by the City.
       47.     As a result of the foregoing, Conway is directly liable for common law battery,
and the City is vicariously liable for common law battery.
       48.     Davies is also entitled to recovery of his fees, costs, and disbursements, including
reasonable attorney' s fees, pursuant to 42 U.S.C. § 1988 and other applicable law.
                                            COUNTY
                                   FALSE IMPRISONMENT
       49.     Davies restates and realleges all and singular paragraphs I through 48 of its
complaint.

       50.     Conway and City falsely imprisoned Davies without justifiable cause or legal
basis. At all times, Conway acted in the course and scope of his duties as an on-duty police
officer, duly employed by the City.


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         51 .      As a result of the false imprisonment Davies was harmed and damaged.
         52.       Davies is also entitled to recovery of his fcc , cost , and disbursements. including

reasonable attorney 's fees, pur uant to 42      .S .C. ~ 1988 and other applicable law.

         WHEREFORE, Plaintiff James Davies pray for judgment against Defendants. and each

of them, as follow :

         1.        A money judgment against Ddendant Jamie Conway for compensatory damages

                   in an amount in execs of Fifty Thousand ( . 50.000.00) Dollars, together with
                   cost , including reasonable attorney' fcc . under 42      .S.C. . 1988 and
                   prejudgment intcre t; and

         2.        A money judgment again t Defendant City of Minneapoli for compensatory

                   damages in an amount in excess of Fifty Thou and ( 50,000.00) Dollar , together
                   with costs, including rea onable attorney's fee , under 42 U.S.C. § 1988 and
                   prejudgment interest; and

         3.         For such other and further relief a thi s Court may deem just and equitable.

         Under Minnesota law, you       may request the u · c of means other than trial to ettlc this
dispute. Alternati es include mediation. arbitration. and other methods set forth in the District
Court Rules.

                                                  I hereby ackno""' ledge that sa nction may be
                                                  awarded pur uant to Minn. Stat. Section 549.211.


Dated:
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                                                                   -:> .   BMJ___,
                                                  Daniel J . Bresnahan (# 11290)
                                                  Attorn~.:y for Plaintiff
                                                  310 Fourth Avenue South
                                                  Suite 7100
                                                  Minneapolis, M 55415
                                                  (6 12) 338-0070
                                                  (6 12 ) "55-4419 (fax)




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